      Case 2:09-cr-00496-ER Document 1907 Filed 05/08/18 Page 1 of 1



                IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA          :
                                  :        CRIMINAL ACTION
             VS.                  :
                                  :        NO: 09-496-08
DAMION CANALICHIO                 :

                                  ORDER


    AND NOW, on this 7TH day of May, 2018, it is hereby ORDERED

that Defendant Damion Canalichio’s motion to supplement the

supplemental brief (ECF #1906) is GRANTED.



    It is further ORDERED that the supplement shall be filed on

or before May 18, 2018.




    IT IS SO ORDERED.


                                   s/ Eduardo C. Robreno__
                                  EDUARDO C. ROBRENO, J.
